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 1   MICHAEL P. KIMBRELL, ESQ.
     Nevada State Bar # 07776
 2   MICHAEL P. KIMBRELL, LTD
     3470 EAST RUSSELL ROAD, Ste. 250
 3   Las Vegas, Nevada 89120
     (702) 471-7001
 4   (Fax) 446-0493
     Attorney for JAVIER PANUCO
 5
 6                                 UNITED STATES DISTRICT COURT
 7                                      DISTRICT OF NEVADA
 8
      UNITED STATES OF AMERICA,                        2:12-cr-00082-MMD -VCF
 9
                     Plaintiff,
10
      vs.
                                                       UNOPPOSED MOTION FOR ORDER
11
      JAVIER PANUCO,                                   TO PRE-TRIAL SERVICES TO
12                                                     CONDUCT DEFENDANT INTERVIEW
                     Defendant.
13
            COMES NOW the defendant, JAVIER PANUCO                      by and through his counsel,
14
15   MICHAEL P. KIMBRELL, ESQ., and hereby moves this Honorable Court for an order for Pre-

16   Trial Services to conduct an interview of Mr. Panuco to determine if he may be recommended

17   released under conditions acceptable to insure his presence for future court proceedings. Counsel
18
     has communicated with Government counsel and authorization to represent they have no opposition
19
     to this motion. Of particular note, this Motion does not represent any agreement by the Government
20
     Counsel for defendant to re-open any detention hearing proceeding. Notwithstanding this note,
21
22   counsel for defendant moves this Court for an Order to Pretrial Services to conduct an Interview

23   of Mr. Panuco and prepare Recommendations regarding a potential release with necessary
24
     conditions.                                  DATED this 14th day of August 2012.
25
26                                         Respectfully submitted,

27                                         /s/ Michael P. Kimbrell
            .                              MICHAEL P. KIMBRELL, ESQ.
28                                         Counsel for Javier Panuco
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 1                         UNITED STATES DISTRICT COURT
 2                                DISTRICT OF NEVADA
 3
 4
     UNITED STATES OF AMERICA, )                      2:12-cr-00082-MMD -VCF
 5                                  )
                   Plaintiff,       )
 6                                  )                       ORDER
           vs.                      )
 7                                  )
     JAVIER PANUCO,                 )
 8                                  )
     _____________Defendant.________)
 9
10         IT IS HEREBY ORDERED that the United States Department of Pre-Trial Services will

11   interview and prepare a Report with Recommendations on Defendant Javier Panuco.
                        14th            August
12         DATED this _______day of _____________, 2012.

13
14                                               _______________________________
15                                               UNITED STATES DISTRICT JUDGE

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 Case
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 1                       CERTIFICATE OF ELECTRONIC SERVICE
 2
     The undersigned hereby certifies that I am an employee of Michael P. Kimbrell, LTD, and is a
 3
 4   person of such age and discretion as to be competent to serve papers. That on August 14, 2012, I

 5   served an electronic copy of the above and foregoing UNOPPOSED MOTION FOR AN ORDER
 6
     FOR PRE-TRIAL SERVICES TO CONDUCT AN INTERVIEW AND PREPARE A REPORT
 7
     WITH RECOMMENDATIONS by electronic service (ECF) to the person(s) named below:
 8
 9  DANIEL G. BOGDEN
    United States Attorney
10
    333 Las Vegas Blvd. South, #5000
11 Las Vegas, NV 89101
    Counsel for United States
12
   KIMBERLY FRAYN
13
   Assistant United States Attorney
14 333 Las Vegas Blvd. South, #5000
   Las Vegas, NV 89101
15 Counsel for United States
16
17                                                      /s/ Michael P. Kimbrell, Esq.
                                                        Employee of Michael P. Kimbrell, LTD
18
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